 Information to identify the case:

 Debtor 1:
                       Adam Royce Bignell                                               Social Security number or ITIN:    xxx−xx−0413
                                                                                        EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

 Debtor 2:                                                                              Social Security number or ITIN: _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court:        Eastern District of Michigan                    Date case filed for chapter:          11      3/30/23

            23−42939−tjt
 Case number:

Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/22

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

The court will dismiss this case without a hearing if the debtor(s) do not timely file all the required documents and if no request for a hearing
on dismissal is filed within 21 days after the petition is filed. The Clerk will give notice of the hearing on dismissal only to the party requesting
the hearing, the debtor and the trustee.

                                                  About Debtor 1:                                           About Debtor 2:
 1. Debtor's full name                            Adam Royce Bignell

 2. All other names used in the
    last 8 years

 3. Address                                       32549 Westlady Drive
                                                  Beverly Hills, MI 48025

 4. Debtor's attorney                             Yuliy Osipov
       Name and address                           Osipov Bigelman, P.C.                                     Contact phone 248−663−1800
                                                  20700 Civic Center Drive, Ste. 420
                                                  Southfield, MI 48076

 5. Bankruptcy trustee                                                                                      Contact phone _____________
       Name and address

                                                                                                           For more information, see page 2 >




Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)                Notice of Chapter 11 Bankruptcy Case                         page 1

                 23-42939-tjt           Doc 12          Filed 04/03/23         Entered 04/03/23 14:23:41                      Page 1 of 3
Debtor Adam Royce Bignell                                                                                                    Case number 23−42939−tjt

 6. Bankruptcy clerk's office                Address of the Bankruptcy Clerk's Office:                     For the Court:
     Documents in this case may be filed     211 West Fort Street                                          Clerk of the Bankruptcy Court:
                                                                                                           Todd M. Stickle
     at this address.                        Detroit, MI 48226
     You may inspect all records filed in
     this case at this office or online at                                                                 Hours open:
                                             Contact phone: 313−234−0065                                   8:30am−4:00pm Monday−Friday
     https://pacer.uscourts.gov.

                                                                                                           Date: 4/3/23

 7. Meeting of creditors                                                                                   By Telephone:
     Debtors must attend the meeting to      May 9, 2023 at 11:00 AM                                       Call in number: 1−866−801−8911
     be questioned under oath. In a joint                                                                  Participant code: 5091693
     case, both spouses must attend.         The meeting may be continued or adjourned to a later
     Creditors may attend, but are not       date. If so, the date will be on the court docket.
     required to do so.

 8. Deadlines                                Deadline to file a complaint objecting to discharge or to challenge whether certain
     The bankruptcy clerk's office must      debts are dischargeable (see line 11 for more information):
     receive these documents and any         • if you assert that the debtor is not entitled to receive a discharge of any debts under 11 U.S.C. §
     required filing fee by the following    1141(d)(3), the deadline is the first date set for hearing on confirmation of the plan. The court or its designee
     deadlines.                              will send you notice of that date later.
                                             • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6), the deadline
                                             is: 7/10/23.


                                             Deadline for filing proof of claim:
                                             For creditors who are required by law to file claims the deadline is 8/7/23, except that for
                                             governmental units the deadline to file claims is 11/6/23.

                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                             https://www.uscourts.gov or any bankruptcy clerk's office.
                                             Your claim will be allowed in the amount scheduled unless:
                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.

                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.
                                             You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                             explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                             rights, including the right to a jury trial.


                                             Deadline to object to exemptions:                              Filing Deadline:
                                             The law permits debtors to keep certain property as            30 days after the conclusion of the meeting of
                                             exempt. If you believe that the law does not authorize an      creditors
                                             exemption claimed, you may file an objection.

                                             If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 9. Creditors
    address
              with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 10. Filing a Chapter 11
     bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                              generally remain in possession of the property and may continue to operate the debtor's business.

                                                                                                            For more information, see page 3 >




Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)                 Notice of Chapter 11 Bankruptcy Case                           page 2



            23-42939-tjt             Doc 12         Filed 04/03/23             Entered 04/03/23 14:23:41                        Page 2 of 3
Debtor Adam Royce Bignell                                                                                                 Case number 23−42939−tjt

                                          Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                          See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until all
                                          payments under the plan are made. A discharge means that creditors may never try to collect the debt from
                                          the debtors personally except as provided in the plan. If you believe that a particular debt owed to you should
11. Discharge of debts                    be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint and pay the
                                          filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a
                                          discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay the filing fee
                                          in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will send you
                                          another notice telling you of that date.
                                          The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                          distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
12. Exempt property                       as exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If
                                          you believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                          bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 8.




Official Form 309E2 (For Individuals or Joint Debtors under Subchapter V)              Notice of Chapter 11 Bankruptcy Case                          page 3



            23-42939-tjt           Doc 12         Filed 04/03/23             Entered 04/03/23 14:23:41                       Page 3 of 3
